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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                          Eastern District of Michigan

United States of America                                            ORDER OF DETENTION PENDING TRIAL
       v.
Antoine Bankhead                                      /             Case Number: 07-20246
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                         Part I – Findings of Fact
       X (1) I find that:
                   x there is probable cause to believe that the defendant has committed an offense
                   x for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                     under 18 U.S.C. § 924(c).

     X (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          X I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

           I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                            Part II – Written Statement of Reasons for Detention
             I find that the credible testimony and information submitted at the hearing established the following factors under 18 U.S.C.
§ 3142(g):
                X (a) nature of the offense - Indictment charges crack cocaine distribution conspiracy involving more that 50 grams
(mandatory minimum 10 years sentence).
                X (b) weight of the evidence - The evidence of offense is strong.
                X (c) history and characteristics of the defendant -
                         X 1) physical and mental condition - drug abuse history
                         X 2) employment, financial, family ties - poor employment record; no assets; has family ties.
                         “
                         X 3) criminal history and record of appearance - Convictions for : 1.) drug delivery; 2.) larceny and 3.)
                                  Forgery. Defendant reports that he is on probation (not verified by Pretrial Services) There is a
                                  current warrant for failure to appear on a traffic offense.
                X (d) probation, parole or bond at time of the alleged offense -
                  (e) danger to another person or community -

          Pretrial Services recommends detention. I agree. This defendant is subject to a sentence enhancement by reason of his prior
drug conviction. He could be facing 20 years to life. His prior criminal conduct , apparent probation violation, current warrant for
failure to appear and poor employment record reflect total irresponsibility. I doubt that he would abide by any bond conditions.

                                                                   Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                    s/ Donald A. Scheer
                 Date July 12, 2007                                 Signature of Judge
                                                                    Donald A. Scheer, United States Magistrate Judge
                                                                     Name and Title of Judge
